Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 1 Of 9 Page|D 845

 

 

IN THE UNITED sTATEs I)ISTRICT CoURT F"‘E° m wQ‘“-¥‘{ D-C-
FoR THE WESTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION 95 AUG l 5 FH 3* 97
) l
UNITED STATES oF AMERICA, ) TCOUR?.
. . ) . as
Plalntlff, )
)
v. ) Case No. 02-20165-D/P
)
ALviN IRWIN Moss, et al., )
)
Defendants. )
)

 

ORDER DENYING DEFENDANT BOHN’S RENEWED MOTION FOR SPEEDY
TRIAL (dkt. #381) AND MOTION TO DISMISS (dkt. #539)

 

Before the Court is the renewed Motion for Speedy Trial (dkt. #381), filed September 3,
2004, and Motion to Dismissl (dkt. #539), filed June 17, 2005, of Defendant Robert Murray Bohn
(“Bohn” or “Defendant”). For the following reasons, the Court DENIES both motions.
I. Factual & Procedural Histo[y

The chronology must be given in detail because of the nature of the issue before the Court.
The indictment against the Defendant was returned by the federal grand jury on May 8, 2002,
charging Bohn2 and others with racketeering, mail fraud, smuggling, and money laundering in
furtherance of an allegedlyillegal lottery gaming business. Bohn Was arraigned on January 9, 2003.

In 1996, the FBI executed a search Warrant on the Barbados facilities of IDM Direct

Marketing Corporation (“]DM”) and seized electronic information from twenty desktop computers

 

l Defendant Bohn joined the motion to dismiss (dkt. #539) to the extent that he seeks dismissal for violation
of his Sixth Amendment right to a speedy trial. Al] other movants have subsequently pled guilty, rendering these
issues moot as to them.

2 Bohn was charged in the following counts of the indictment 1, 2, 4-8, 55-88.

Thls document entered on the docket she tin mpli ce (O©Q
with R\\|e 55 and/or 32lbl FHCrP on

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 2 of 9 Page|D 846

and seven mainframe servers. § Depo. of Detective Lee Stewart, p. 237 at lines 16, 19-23. Bohn
was an officer of Pacific lnternational Trust Company Limited; Vanuatu Maritime Services, Ltd.;
European Bank, Ltd.; and Atlas Corporation, Ltd.. Bohn allegedly established checking accounts
on behalf of IDM that were used in the collection and ultimate distribution of proceeds from the sales
and promotion of lottery tickets to citizens of the United States. w Complaint, p. 18 at line 13.

Upon the request of Special Agent Pamela Jane Vanderburg (“Vanderbu.rg”), the Computer
Analysis Response Team (“CART”) of the FBI made arrangements in August 1998 to set up a hard
drive of the electronic data seized from lDM for Vanderburg’s review or for “whomever she
designated to review that information.” w Depo. of Lee Stewart, p. 253 at lines 1-5. This took
CART approximately a week to create. § at p. 254 at lines l-7. Some of the data acquired from
lDM was found to be partially corrupted, making review of this material difficult ld_. at p. 258 at
lines 11-18, 22-25. The IDM data copy created by CART, however, had an operating system With
intermediate platform that facilitated review and query search in substantial part. Ld. at p. 253 at
lines 20-21, 23-24; p. 260 at lines 22-25; p. 261 at 1-5.

Upon the government’s motion, the Court initially ordered the indictment in this case sealed.
The indictment was unsealed on December 4, 2002. From December of 2002 until April 15, 2005,
the record reflects that twenty specific requests for discovery from the government had been made,
including copies of all electronic material seized or obtained by the government from facilities in
Barbados and elsewhere w Docket No. 425 at Exhibits A & B; Docket No. 486 at Exhibit A. The
government contends that it received its first written discovery request from certain Def`endants on
February 3, 2003 for the production of all discovery materials, including but not limited to electronic

materials seized in Barbados, Australia, and the United States. The government states that counsel

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 3 of 9 Page|D 847

for Bohn did not specifically request electronic discovery material nor has any defense counsel
complied with the government’s requests for discovery documents In March 2003 , Defendants were
given access to 167 banker boxes of material that were in the govemment’s possession from seizures
in this case.

On April 22, 2003, the Court entered an Order dismissing the indictment as facially defective
as to all Defendants. Subsequently, the Court ruled that all discovery in this case would cease,
pending the Sixth Circuit’s decision on the government’s appeal. On July 6, 2004, the Sixth Circuit
reversed the dismissal and reinstated the indictment On July 29, 2004, at a status conference, the
Court orally instructed the parties to resume discovery, and requested that the process be conducted
in a manner that facilitated the most expeditious use of resources to prepare for trial.

On August 18, 2004, Bohn moved to modify the conditions of his release, and alternatively
moved for severance and a speedy trial. On November 5, 2004, certain Defendants filed a motion
to compel discovery (“November 5, 2004 Motion”) and on November 8, 2004, the Court entered an
Order of Reference directing U.S. Magistrate Judge Pham to make a determination on that motion.
On November 18, 2004, at the direction of the magistrate judge, the government filed a response,
with a supplement filed December 17, 2004, setting forth an objection to the scope of certain
Defendants’ discovery requests.

On April 15, 2005, pending the magistrate judge’s ruling, a status conference was conducted
before the Court on certain Defendants’ requested production of electronic materials On April 29,

2005, the Court entered an Order, nunc pro tunc to April 15, 2005, ordering the government to

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 4 of 9 Page|D 848

produce all requested discovery on or before thirty days from April 15, 20053. Specifically, a May
16, 2005 production deadline Was imposed on the government The magistrate judge amended his
May 5, 2005 Order to conform with the Court’s discovery deadline Bohn contends that, to date, the
government has failed to comply with the Court’s discovery order. Bohn is currently under house
arrest and the trial is set for hearing in September of 2005 .

II. Analysis

Bohn asserts that the indictment should be dismissed, with prejudice, because the
government’s discovery delays have amounted to a violation ofDefendant’s Sixth Amendment right
to a speedy trial. Bohn contends that material requested by certain Defendants more than two and
a half years ago has been in the govemment’s possession in retrievable form and that production
delays have been either negligent or willful.

The government contends that the two-and-a-half-year delay asserted by the Defendant does
not take into consideration numerous issues that were pending before this Court and the Court of
Appeals. It asserts that such delays should not be attributed to the govemment. Specifically, the
government argues that it should not be penalized for the following: (l) the fourteen month period
during the appeal to the Sixth Circuit of the Court’s Apri122, 2003 dismissal of the indictment and
(2) the six months when the Magistrate Judge considered the government’s objection to the scope
of Defendant’s November 5, 2004 Motion.

The right to a speedy trial is “f`tmdamental” and is imposed by the Sixth Amendment and the

Due Process Clause of the Fourteenth Amendment. §e_e Smith v. Hooey, 393 U.S. 374 (1969). The

 

3 The government was given ten days from April 29, 2005 to show cause as to why it could not produce all
items requested by the Defendants in the time called for in the Court’s Order.

4

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 5 of 9 Page|D 849

balancing of four factors have been identified as necessary to a court’s analysis in speedy trial cases.
These factors are (l) length of delay, (2) the reason f`or the delay, (3) the defendant’s assertion of his
right, and (4) prejudice to the defendant Barker v. Wingo, 407 U.S. 514, 530 (1972). When a Sixth
Amendment right to a speedy trial has been violated, the only appropriate remedy is dismissal of the
indictment Strunk v. United States, 412 U.S. 434, 43 9-40 (1973); se_e als__o Do ggett v. U.S., 505 U.S.
647 (1992) (delay of eight and one half years between defendant’s indictment and arrest violated his

Sixth Amendment right to speedy trial and warranted dismissal).

The first of these factors is a double inquiry because simply to trigger a speedy trial analysis,
an accused must allege that the interval between accusation and trial has crossed the threshold

dividing ordinary from a “presumptively prejudicial” delay, L at 652 (citing Barker, 407 U.S. at

 

5 3 0-3 1 ). Dependin g on the nature of the charges, courts have generally found post-accusation delay
“presumptively prejudicial” as it approaches one year. Ld. (the term “presumptive prejudice” in this
threshold context does not “necessarily indicate a statistical probability of prejudice,” but simply

triggers a delay unreasonable enough to trigger the Barker inquiry). If this showing is met, the court

 

must then consider, as one factor among several, the extent to Which the delay stretches beyond the
bare minimum needed to trigger judicial examination of the claim. w mg 407 U.S. at 533-34.
This latter inquiry is significant to the speedytrial analysis because “the presumption that the pretrial
delay has prejudiced the accused increases over time.” §§ M, 505 U.S. at 652. The speedy
trial interest must, however, be balanced with the necessity for preserving society’s interest in the

administration of criminal justice. _S_e§ United States. v. Monison. 449 U.S. 361, 364 (1981).

The question before the Court is whether Bohn’s speedy trial claim meets the Barker test for

 

dismissal First, in considering whether presumptive prejudice exists, the Court notes that the
Defendant correctly asserts that a two-a-half-year delay has occurred. The government however,
asserts that delays that were the result of judicial administration before the Court and Court of

Appeals should not be factored in this analysis.

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 6 of 9 Page|D 850

The Court finds that the fourteen months in which this matter awaited determination of the
government’s appeal and the six-month period whereby a motion to compel discovery Was before

the Magistrate Judge should not be attributed to government delay. ln United States v. Howard, 218

 

F.3d 556 (6th Cir. 2000), the Sixth Circuit stated that in calculating the length of delay for purposes
of determining whether a defendant’s Sixth Amendment right to speedy trial has been violated, only
those periods of delay attributable to government or court are relevant to the claim. M, 218
F.3d at 561. In accordance with the M court’s analysis, judicial pre-trial delays, albeit not
attributed to the government are factored into the speedy trial analysis, though they are given less
weight than if the delays were attributable to the government Even without considering the 20
months attributed to judicial pre-trial considerations, the remaining fourteen months would still,

standing alone, presumptively trigger the initial Barker inquiry.

 

As the initial showing of prejudice has presumptively been met, the Court must inquire into
the extent to which the delay stretched beyond the bare minimum needed to trigger judicial

examination ln Barker, the Supreme Court held that where four years of the period from arrest to

 

trial was attributed to the prosecution’s failure or inability to try a co-indictee, and where the
defendant was not seriously prejudiced by the more than five-year delay, the Sixth Amendment right
to a speedy trial was not violated. In the case at bar, discovery delays have certainly stretched the
time for which a jury trial would have occurred in this matter. Despite the discovery delays, much
of which the Court attributes to the questionable tactics of Vanderburg, the Court finds that the one

year presumption under the Barker analysis does not weigh overwhelmingly in Bohn’s favor when

 

factoring in the judicial administrative delays and the extent that the delay stretched beyond the bare
minimum to trigger judicial inquiry. Additionally, as many of the Defendants in this matter have
pled guilty, the Court anticipates that Bohn’s trial will proceed as scheduled in September 2005.
Defendant has satisfied the third factor by asserting his right to speedy trial in August of
2004. As to the fourth factor, whether Bohn has been prejudiced by the delay, the Court finds that

he has certainly been prejudiced by the delay and the conditions of confinement The Court finds,

6

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 7 of 9 Page|D 851

however, that the prejudice is not so extreme as to amount to a denial of due process warranting

dismissal of the indictment
III. Conclusion

For the reasons stated above, the Court DENIES Defendant’s motion to dismiss for Sixth

Amendment speedy trial violations

IT IS SO ORDERED this ____day of August 2005,

minn 7

ljRNICE BOUIE DONALD
UNITED STATE DISTRICT COURT

 

UNITED STATES DISTRIC= COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 609 in
case 2:02-CR-20165 was distributed by fax, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/lemphis7 TN 38103--552

Robert G. Chadwell

MCKAY CHADWELL PLLC
600 University St.

Ste. 1 60 1

Seattle, WA 98101

David W. Kenna

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

New York7 NY 10004--148

Stephen Ross Johnson

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Michael R. Koblenz

MOUND COTTON WOLLAN & GREENGRASS
One Battery Park Plaza

New York7 NY 10004--148

Richard M. Carter

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

Case 2:02-cr-20165-BBD-tmp Document 609 Filed 08/16/05 Page 9 of 9 Page|D 853

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

David E. Wilson

MCKAY CHADWELL, PLLC
600 University

Ste 1 60 1

Seattle, WA 98101

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

Wade V. Davies

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901

Glenn Reid

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Michael B. Neal

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Honorable Bernice Donald
US DISTRICT COURT

